
In re Brown, Calvin; — Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of Webster, 26th Judicial District Court Div. D, No. 66,124; to the Court of Appeal, Second Circuit, No. 38563-KH.
Writ granted in part; otherwise denied; ease remanded to the district court. The district court is ordered to appoint counsel for purposes of holding a hearing at which it will determine whether relator is entitled to an out-of-time appeal under the rule of State v. Counterman, 475 So.2d 336, 340 (La.1985) (out-of-time appeal may be appropriate in cases in which either “the defendant was not substantially notified at sentencing of his right to appeal or those in which the defense attorney was at fault in failing to file or perfect a timely appeal.”). In all other respects the application is denied.
